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                                Nebraska Court of A ppeals A dvance Sheets
                                     24 Nebraska A ppellate R eports
                                             MARSHALL v. MARSHALL
                                              Cite as 24 Neb. App. 254



                                         A my M arshall, appellee, v.
                                        Brian W. M arshall, appellant.
                                                    ___ N.W.2d ___

                                         Filed August 16, 2016.   No. A-15-035.

                1.	 Divorce: Child Custody: Child Support: Property Division: Alimony:
                    Appeal and Error. An appellate court’s review in an action for dissolu-
                    tion of marriage is de novo on the record to determine whether there has
                    been an abuse of discretion by the trial court. This standard of review
                    applies to the trial court’s determinations regarding custody, child sup-
                    port, division of property, and alimony.
                2.	 Judgments: Words and Phrases. An abuse of discretion occurs when
                    the trial court’s decision is based upon reasons that are untenable or
                    unreasonable or if its action is clearly against justice or conscience,
                    reason, and evidence.
                3.	 Property Division. The equitable division of marital property is a three-
                    step process: The first step is to classify the parties’ property as marital
                    or nonmarital, the second step is to value the marital assets and marital
                    liabilities of the parties, and the third step is to calculate and divide
                    the net marital estate between the parties in accordance with statu-
                    tory principles.
                4.	 ____. The marital estate includes property accumulated and acquired
                    during the marriage through the joint efforts of the parties.
                5.	 Divorce: Property Division. Compensation for an injury that a spouse
                    has or will receive for pain, suffering, disfigurement, disability, or loss
                    of postdivorce earning capacity should not equitably be included in the
                    marital estate.
                6.	 Property Division. Compensation for past wages, medical expenses,
                    and other items that compensate for the diminution of the marital estate
                    should equitably be included in the marital estate as they properly
                    replace losses of property created by the marital partnership.
                7.	 Property Division: Proof. The burden of proof to show that property is
                    nonmarital remains with the person making the claim.
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            Nebraska Court of A ppeals A dvance Sheets
                 24 Nebraska A ppellate R eports
                          MARSHALL v. MARSHALL
                           Cite as 24 Neb. App. 254
 8.	 Property Division: Proof: Workers’ Compensation: Presumptions.
     Where the party making the claim of nonmarital property fails to prove
     that all or portions of an injury compensation are for purely personal
     losses or loss of future earning capacity, the presumption remains that
     the proceeds from the personal injury or workers’ compensation settle-
     ment or award are marital property.
 9.	 Evidence: Appeal and Error. When evidence is in conflict, an appel-
     late court considers, and may give weight to, the fact that the trial judge
     heard and observed the witnesses and accepted one version of the facts
     rather than another.
10.	 Child Support. The provision of in-kind benefits, from an employer
     or other third party, may be included in a party’s income for child sup-
     port purposes.
11.	 Trial: Evidence: Appeal and Error. Erroneous admission of evidence
     is harmless error and does not require reversal if the evidence is cumula-
     tive and other relevant evidence, properly admitted, supports the finding
     by the trier of fact.
12.	 Alimony. In awarding alimony, a court should consider, in addition to
     the specific criteria listed in Neb. Rev. Stat. § 42-365 (Reissue 2008),
     the income and earning capacity of each party as well as the general
     equities of each situation.
13.	 ____. Disparity in income or potential income may partially justify an
     award of alimony.

  Appeal from the District Court for Douglas County: Thomas
A. Otepka, Judge. Affirmed in part, and in part reversed and
remanded with directions.
  Donald A. Roberts and Justin A. Roberts, of Lustgarten &amp;
Roberts, P.C., L.L.O., for appellant.
  Anthony W. Liakos, of Govier &amp; Milone, L.L.P., for
appellee.
   Moore, Chief Judge, and Irwin and Bishop, Judges.
   Irwin, Judge.
                     I. INTRODUCTION
  Brian W. Marshall appeals from a decree of dissolution
entered by the district court, which decree dissolved Brian’s
marriage to Amy Marshall; divided the marital assets and
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         Nebraska Court of A ppeals A dvance Sheets
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                    MARSHALL v. MARSHALL
                     Cite as 24 Neb. App. 254
debts; awarded Amy sole physical custody of the parties’ minor
child; and ordered Brian to pay child support, alimony, and a
portion of Amy’s attorney fees. On appeal, Brian asserts that
the district court erred in calculating and dividing the marital
estate, in calculating his income for child support purposes, in
admitting into evidence certain documentation about personal
injury settlement proceeds received by the parties during the
marriage, and in awarding Amy alimony in the amount of
$2,000 per month for 21 years.
   Upon our de novo review of the record, we find that the
district court erred in failing to include all of the proceeds
from the personal injury settlement in the marital estate and
in calculating Brian’s current income. As a result of these
errors, we remand the matter to the district court to recalcu-
late the value of the parties’ marital estate, redistribute the
assets and debts between the parties, and recalculate Brian’s
child support obligation. In addition, we reverse the dis-
trict court’s determination concerning Amy’s alimony award,
because the court should reconsider this award in light of any
changes to the marital estate and to the calculation of Brian’s
child support.
                      II. BACKGROUND
   Brian and Amy were married on August 20, 1993. Two chil-
dren were born of the marriage; however, by the time of the
dissolution proceedings, only one child remained a minor, the
parties’ daughter, born in August 1996.
   On February 8, 2013, Amy filed a complaint for dissolution
of marriage. In the complaint, Amy specifically asked that the
parties’ marriage be dissolved; that their marital assets and
debts be equitably divided; that she be awarded custody of the
parties’ daughter; and that she be awarded child support, ali-
mony, and attorney fees.
   On March 4, 2013, Brian filed an answer and cross-­
complaint for dissolution of marriage. In his cross-complaint,
he asked that he be awarded custody of the parties’ daughter,
child support, and attorney fees.
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                    MARSHALL v. MARSHALL
                     Cite as 24 Neb. App. 254
   On March 21, 2013, the district court entered a temporary
order awarding Amy sole physical custody of the parties’
daughter and awarding Brian and Amy joint legal custody of
her pending a trial. Brian was ordered to pay temporary child
support in the amount of $514 per month. In addition, he was
ordered to maintain health insurance for the family and to pay
the real estate taxes for the marital home.
   Trial was held in October 2014. At trial, both Brian and
Amy agreed that they would continue to share legal custody
of their daughter and that Amy would retain sole physical
custody. As a result of this agreement, the issues left to be
resolved at trial included division of the parties’ assets and
debts, child support, alimony, and attorney fees. The parties’
trial testimony centered on their current financial circum-
stances. In particular, a great deal of testimony focused on the
disabling effects of a stroke Amy suffered in 2003 and a per-
sonal injury settlement that Brian and Amy received as a result
of Amy’s stroke. More specific details about this testimony
will be discussed as necessary in our analysis below.
   After the trial, the district court entered a decree of dis-
solution. In the decree, the court ordered Brian to pay $935
per month in child support. In addition, the court ordered
Brian to pay Amy alimony in the amount of $2,000 per
month for 21 years and $5,000 of her attorney fees. The
court calculated and divided the marital estate such that
Amy received the marital home and her personal vehicle
and Brian received a rental home owned by the parties; two
trucks and two boats; his interest in a business referred to
as “Elite Fitness”; and his 49-percent interest in his family’s
business, Marshall Enterprises. The court divided equally the
cash value of various life insurance policies held by Brian.
The court also set aside a portion of the personal injury
settlement from Amy’s stroke as Amy’s nonmarital property
and set aside a smaller portion of that settlement as Brian’s
nonmarital property.
   Brian appeals from the decree of dissolution here.
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                     MARSHALL v. MARSHALL
                      Cite as 24 Neb. App. 254
                III. ASSIGNMENTS OF ERROR
   On appeal, Brian assigns four errors: He asserts, restated,
that the district court erred in calculating and dividing the
marital estate; in calculating his income for child support pur-
poses; in admitting into evidence exhibit 81, which contained
documents relating to the settlement proceeds Brian and Amy
received as a result of Amy’s stroke; and in awarding Amy ali-
mony in the amount of $2,000 per month for 21 years.
                  IV. STANDARD OF REVIEW
   [1] An appellate court’s review in an action for dissolution
of marriage is de novo on the record to determine whether
there has been an abuse of discretion by the trial court. This
standard of review applies to the trial court’s determinations
regarding custody, child support, division of property, and
alimony. See, Millatmal v. Millatmal, 272 Neb. 452, 723
N.W.2d 79 (2006); Gress v. Gress, 271 Neb. 122, 710 N.W.2d
318 (2006).
   [2] An abuse of discretion occurs when the trial court’s deci-
sion is based upon reasons that are untenable or unreasonable
or if its action is clearly against justice or conscience, reason,
and evidence. Adams v. Adams, 13 Neb. App. 276, 691 N.W.2d
541 (2005).
                          V. ANALYSIS
                   1. Calculation and Division
                        of M arital Estate
   Brian first asserts that the district court abused its dis-
cretion in its calculation and division of the marital estate.
Specifically, he argues that the court erred in setting aside
any portion of the personal injury settlement proceeds as non-
marital property and in determining that an airboat he paid
for after the parties separated was marital property. Brian also
argues that the court erred in inequitably dividing the marital
estate. Upon our de novo review of the record, we find that
Amy failed to sufficiently demonstrate that any portion of the
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          Nebraska Court of A ppeals A dvance Sheets
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                      MARSHALL v. MARSHALL
                       Cite as 24 Neb. App. 254
settlement proceeds were nonmarital property. Accordingly,
we reverse the court’s categorization of these proceeds. All of
the settlement proceeds should be considered marital property.
We also find that there was sufficient evidence presented to
demonstrate that Brian’s airboat was marital property. As such,
we affirm the court’s categorization of the airboat as marital
property. However, given our reversal of the court’s exclusion
of any portion of the personal injury settlement proceeds from
the marital estate, we remand the matter to the district court to
recalculate the value of the estate and to reconsider the divi-
sion of the assets and debts.
   [3,4] Before we address Brian’s specific assertions with
regard to the court’s calculation and division of the marital
estate, we briefly recount the legal principles which control our
review of this issue. When there is no settlement agreement
between the parties on the issue of property division, the trial
court is obliged to order an equitable division of the marital
estate. Neb. Rev. Stat. § 42-366(8) (Reissue 2008). The equi-
table division of marital property is a three-step process: The
first step is to classify the parties’ property as marital or non-
marital, the second step is to value the marital assets and mari-
tal liabilities of the parties, and the third step is to calculate and
divide the net marital estate between the parties in accordance
with statutory principles. See Gangwish v. Gangwish, 267 Neb.
901, 678 N.W.2d 503 (2004). The marital estate includes prop-
erty accumulated and acquired during the marriage through the
joint efforts of the parties. Nygren v. Nygren, 14 Neb. App. 1,
704 N.W.2d 257 (2005).
                    (a) Settlement Proceeds
   In April 2003, when she was 34 years old, Amy suffered a
“massive stroke” which left her with permanent disabilities,
including limited use of her left hand and left leg. Immediately
after the stroke, Amy was hospitalized for 1 week and was then
transferred to an inpatient rehabilitation center for 1 month.
After her release, she participated in outpatient rehabilitation
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                    MARSHALL v. MARSHALL
                     Cite as 24 Neb. App. 254
for 4 years. Prior to Amy’s stroke, she co-owned and operated
“Amy’s Salon.” After the stroke, she is no longer able to work
full time as a hairdresser. She does work a couple of hours per
week out of a salon in the basement of the marital home and
has about 10 regular clients. However, most of these clients are
family and close friends, because Amy requires assistance in
cutting, coloring, perming, styling, or braiding hair. Amy also
requires assistance in performing basic grooming for herself
and in completing household chores.
   As a result of Amy’s stroke, Brian and Amy initiated a
lawsuit against Merck &amp; Co., Inc. (Merck), a pharmaceutical
company which distributed the anti-inflammatory drug Vioxx.
Amy had used Vioxx on almost a daily basis for the 4 years
prior to her stroke. Brian, Amy, and Merck ultimately settled
their lawsuit after Merck agreed to pay to Brian and Amy
approximately $490,000. The settlement was paid in two lump
sums and was not specifically broken down so as to allocate
any certain amount to Amy’s pain and suffering, lost wages, or
medical expenses or to Brian’s derivative claims. After paying
for attorney fees and costs, Brian and Amy received settle-
ment proceeds in the amount of $330,621.40. Almost all of
this money had been spent on marital expenses by the time of
the dissolution proceedings. In particular, Brian and Amy spent
$84,000 of the proceeds paying off the mortgage on the marital
home. In addition, they spent approximately $95,000 on mak-
ing improvements to the home. They also paid off credit card
debt, went on family vacations, and invested in a local busi-
ness referred to as “Elite Fitness.”
   In the decree of dissolution, the district court recognized
that the agreement between Brian, Amy, and Merck “was silent
on allocation of payment for Amy’s pain, suffering, disfigure-
ment, disability or loss of post-divorce earning capacity or
for past wages, medical expenses and other items.” However,
the court found that a portion of the settlement proceeds
should still be set aside as Amy’s nonmarital property. The
court stated:
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          Nebraska Court of A ppeals A dvance Sheets
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                     MARSHALL v. MARSHALL
                      Cite as 24 Neb. App. 254
      The settlement does not come close to compensating Amy
      for her future pain, suffering, disfigurement, disability.
      The parties agree that the settlement proceeds were used
      to pay off the mortgage debt and remodel the kitchen, for
      a total of $179,604.90. Amy should be given credit for
      this and should be awarded the marital residence as her
      sole and separate property free and clear of any interest
      of . . . Brian, who shall, upon entry of the Decree, execute
      a quitclaim deed releasing his interest in the property to
      Amy. When this credit is applied to the value of the prop-
      erty, Amy’s net equity is $168,995.91.
Essentially, the court determined that $179,604.90, or 54 per-
cent, of the property settlement proceeds were Amy’s nonmari-
tal property.
   The court also found that a portion of the settlement pro-
ceeds should be set aside as Brian’s nonmarital property. The
court stated:
      The Court finds that Brian opened an account at Five
      Points Bank with approximately $20,000.00 from Amy’s
      personal injury settlement. The account recently had a
      value of $4000.00 and has been diminished by Brian to
      approximately $600.00. He will be awarded that account
      as credit against his derivative or marital claim to the
      settlement proceeds. . . .
         ....
         . . . The Court finds that Brian purchased an inter-
      est in a business known as “Elite Fitness”, investing
      approximately $37,333.33 from the proceeds of Amy’s
      personal injury settlement. This investment is awarded
      to Brian as his sole and separate property free and clear
      of any interest of Amy and shall be applied as a credit
      against his derivative or marital claim to the settle-
      ment proceeds.
It is not clear from the court’s statement whether it awarded
Brian a total credit of $41,333.33 or $37,933.33, because it is
not clear whether the court valued the bank account at $4,000
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                    MARSHALL v. MARSHALL
                     Cite as 24 Neb. App. 254
or at $600. However, for the purpose of our discussion, we will
assume that the court awarded Brian a credit of $41,333.33, or
12.5 percent of the personal injury settlement proceeds.
   On appeal, Brian challenges the court’s categorization of
any portion of the personal injury settlement proceeds as non-
marital property. He asserts that Amy failed to sufficiently
prove that any of the proceeds were nonmarital property and
that, without this proof, the court should have included all of
the proceeds in the marital estate. Upon our review, we con-
clude that Brian’s assertion has merit.
   [5-8] The Nebraska Supreme Court has previously discussed
whether the proceeds from a personal injury award should
be categorized as marital or nonmarital property for property
distribution purposes in Parde v. Parde, 258 Neb. 101, 602
N.W.2d 657 (1999). In that case, the court held:
      [C]ompensation for an injury that a spouse has or will
      receive for pain, suffering, disfigurement, disability, or
      loss of postdivorce earning capacity should not equita-
      bly be included in the marital estate. On the other hand,
      compensation for past wages, medical expenses, and other
      items that compensate for the diminution of the marital
      estate should equitably be included in the marital estate
      as they properly replace losses of property created by the
      marital partnership.
Id. at 109-10, 602 N.W.2d at 663. The court went on to explain
that the burden of proof to show that property is nonmarital
remains with the person making the claim. Id.      Thus, in those cases where the party making the claim of
      nonmarital property fails to prove that all or portions of
      an injury compensation are for purely personal losses or
      loss of future earning capacity, the presumption remains
      that the proceeds from the personal injury or workers’
      compensation settlement or award are marital property.
Id. at 110, 602 N.W.2d at 663.
   In this case, the settlement proceeds from Merck were
received in two lump-sum payments and without any specific
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                     MARSHALL v. MARSHALL
                      Cite as 24 Neb. App. 254
delineation of whether the proceeds were for Amy’s pain
and suffering, Amy’s lost wages, Amy’s medical bills, Brian’s
derivative claims, or some combination of these figures.
Evidence presented at trial revealed that prior to Amy’s stroke,
she worked full time as a hairdresser at a salon she co-owned.
Her annual wages for this employment totaled approximately
$43,580. After Amy’s stroke, she is essentially unable to work
as a hairdresser. She now earns a negligible amount of money
working only a few hours a week. Accordingly, it is clear
that the marital estate was greatly diminished as a result of
Amy’s lost wages. In fact, Amy’s lost wages from the time of
her stroke in 2003 through the time of the parties’ separation
10 years later in 2013 totaled more than $100,000 over the
entirety of the settlement proceeds. In addition, it is clear that
Amy incurred a great deal of medical expenses as a result of
her stroke. However, there was no evidence presented to indi-
cate whether or how much the marital estate was diminished
for these medical bills or whether the parties’ health insurance
covered these bills.
   While it is clear that Amy’s stroke has left her with serious
physical impairments, it is also clear that her stroke resulted in
a great reduction in the value of the marital estate. The settle-
ment proceeds received from Merck were simply not enough
to cover all of the damages incurred by the parties. And,
Amy simply failed to prove that any portion of the settlement
proceeds were specifically allocated to her purely personal
losses. In particular, Amy did not present any evidence which
showed that 54 percent of the settlement proceeds were her
nonmarital property. Thus, it is not clear how the district court
determined that the proceeds should be broken down such that
Amy received 54 percent of the proceeds as her nonmarital
property; Brian received 12.5 percent of the proceeds as his
nonmarital property; and the remaining 33.5 percent of the
proceeds stayed in the marital estate. Without specific proof
about how the settlement proceeds should be broken down,
the presumption remains that all of the proceeds from the
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         Nebraska Court of A ppeals A dvance Sheets
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                     MARSHALL v. MARSHALL
                      Cite as 24 Neb. App. 254
personal injury settlement are marital property. The district
court erred in arbitrarily setting aside any portion of the set-
tlement proceeds as nonmarital property. The entirety of the
proceeds should be included in the marital estate.
                           (b) Airboat
   At trial, Amy presented evidence that a few days after the
parties’ separated in April 2013, Brian purchased an airboat
valued at approximately $15,000. Brian paid approximately
half of the purchase price of the airboat, $7,750, with a check
dated April 9, 2013, which was drawn from his personal
checking account. It is not clear whether or how Brian paid
the remaining purchase price. Amy testified that she did not
know whether Brian had taken out a loan to purchase the air-
boat. Amy believed this airboat should be considered marital
property. Brian, on the other hand, believed the airboat was
his nonmarital property. He testified that while he ordered
the airboat prior to the parties’ separation, he did not pay for
any portion of it until a few days after the date of the parties’
separation. In addition, he testified that in order to pay for
the airboat, he sold some stock he acquired prior to the par-
ties’ marriage.
   In the decree of dissolution, the district court included
the airboat in the marital estate and awarded it to Brian. On
appeal, Brian asserts that the district court erred in including
the airboat in the marital estate. Specifically, he argues that
his testimony that he used the proceeds from the sale of stock
purchased prior to the marriage proves definitively that the
airboat is his nonmarital property. Upon our review, we affirm
the decision of the district court to include the airboat in the
marital estate.
   The parties presented conflicting evidence about the pur-
chase of the airboat. Amy presented evidence to prove that
Brian used money from his personal checking account to pay
for it. This account was one of the primary accounts used by
the parties during the marriage, and thus, a few days after
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                     MARSHALL v. MARSHALL
                      Cite as 24 Neb. App. 254
the parties’ separation, the account arguably still contained
primarily marital funds. In addition, there was evidence that
Brian actually ordered the airboat during the parties’ marriage.
Brian disputed Amy’s version of how he purchased the airboat.
He testified that he used nonmarital funds to buy the airboat.
However, he did not provide any specific documentation to
support his testimony.
   [9] As we have long stated, when evidence is in conflict,
an appellate court considers, and may give weight to, the
fact that the trial judge heard and observed the witnesses and
accepted one version of the facts rather than another. See, e.g.,
Millatmal v. Millatmal, 272 Neb. 452, 723 N.W.2d 79 (2006).
Given the conflicting testimony about the purchase of the
airboat, and given our deference to the trial court, we cannot
say that the district court abused its discretion in including the
airboat in the marital estate.

                     (c) Property Division
   On appeal, Brian also contests the district court’s division
of the marital estate. He asserts that the court should have
awarded both he and Amy 50 percent of their acquired assets
and debts. We do not address Brian’s assertions with regard to
the court’s division of the marital estate. Instead, we remand
the matter to the district court to recalculate and redivide the
marital estate given our conclusion that all of the proceeds
from the personal injury settlement should be included in the
marital estate.

                        2. Child Support
   At trial, the parties’ presented conflicting evidence about
Brian’s current income. Brian testified that he earns $2,500
per month as a property manager for his family’s business,
Marshall Enterprises. In addition, from his employment with
Marshall Enterprises, he receives the use of a company truck,
vehicle maintenance for the truck, vehicle insurance, the use
of a cellular telephone, and health insurance. Brian’s mother,
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who is his employer, confirmed Brian’s testimony about his
monthly salary. Brian also testified that he receives additional
snow removal income during the winter months. He estimated
that he earns between $10,000 and $12,500 per year for snow
removal. In addition, during the discovery process, Brian indi-
cated that his monthly income totaled $3,600 per month. Brian
did not specifically contradict this amount at trial.
   Amy testified that she believed that Brian earned more
than $3,600 per month. To support her assertion, she offered
into evidence records from Brian’s personal checking account
from January through August 2014. These records reveal
that during each of the first 8 months of 2014, Brian depos-
ited an average of $7,441 per month into his bank account.
Amy indicated that she believed that the court should add
$7,400 to Brian’s stated earnings of $3,600 to determine
his actual monthly income. Essentially, Amy believed that
Brian’s monthly income totaled at least $11,000 per month. In
response to Amy’s opinion about his monthly income, Brian
testified that he borrowed a great deal of money from his
parents during the months of January through August 2014. In
addition, he offered a variety of other reasons that the amount
of his monthly deposits exceeded $3,600 per month, including
that he deposited the rent check from the parties’ rental prop-
erty into the account and then paid the mortgage on that prop-
erty from the account, that his mother had given him money
to put toward the cost of the parties’ daughter’s activities, and
that the bulk of his snow removal income was earned during
the first part of 2014.
   In the decree of dissolution, the court noted the conflict
between the parties’ testimony about Brian’s monthly income.
The court then found:
      Based upon the evidence and the conflicting nature of
      same . . . the Court has determined to split the dif-
      ference between the suggested monthly gross incomes
      for Brian ($11,041.25 − $3600.00 = $7441.00 / 2 =
      $3720.00. $11,041.00 − $3720.00 = $7321.00) and adjust
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      that difference downward slightly and Brian’s monthly
      child support shall be recalculated using gross monthly
      income of $7000.00 . . . .
The court then ordered Brian to pay $935 per month in
child support.
   On appeal, Brian challenges the district court’s calculation
of his monthly income and, thus, challenges the amount of
monthly child support the court awarded to Amy. Specifically,
Brian alleges that the evidence presented at trial does not
support the court’s determination that his monthly income is
$7,000 per month.
   Upon our review of the record, we find that Amy’s opinion
about Brian’s monthly income is not reasonable and is not
supported by the evidence. Because her opinion about his
income is not reasonable, it was not reasonable for the district
court to “split the difference” between Amy’s and Brian’s
estimation of income. Amy testified that she believed that the
court should calculate Brian’s income by adding his estimated
monthly salary of $3,600 to his average checking account
deposits for the 8 months prior to trial. However, it appears
that Amy’s proposed calculation of income overstates Brian’s
income by at least $3,600. Both Brian and Amy testified that
Brian’s checking account was his primary bank account. Brian
testified that he deposits his salary into this account. Amy did
not present any evidence to suggest that Brian did not, in fact,
deposit his salary into that account. As a result, it appears that
if we were to add $3,600 to Brian’s monthly checking account
deposits, we would be counting this amount twice. Because
Amy’s proposed calculation of Brian’s income substantially
overstates his income, we find that the court erred in rely-
ing on the calculation in its determination of Brian’s actual
monthly income. There is simply no evidence in the record to
support Amy’s assertion that Brian earns more than $11,000
per month.
   Given that the court relied, in part, on Amy’s erroneous
calculation of Brian’s monthly income to “split the difference”
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and did not otherwise rely upon evidence establishing Brian’s
various sources of income, we find ourselves in a similar
position to the court in Baratta v. Baratta, 245 Neb. 103, 511
N.W.2d 104 (1994). In that case, our Supreme Court noted
that it was “difficult to determine just what the trial court
found with reference to the [husband’s] income, but by com-
bining the findings made and the evidence” from an earlier
affidavit, along with the record from the divorce hearing,
and the trial court’s award, it concluded that child support
“can be divined.” Id. at 105, 511 N.W.2d at 105. The court
then considered the husband’s wages and in-kind benefits and
modified the husband’s child support from $400 per month to
$427 per month. Baratta, supra. Like the Baratta court, we
will consider various sources of income, as well as in-kind
benefits, to determine Brian’s monthly income for child sup-
port purposes.
   Brian testified that he received $2,500 per month from
Marshall Enterprises and that he also earned snow removal
income. Brian’s 2013 Schedule C shows $13,805, or $1,150 per
month, as a net profit for “Brian Marshall Remodeling” (snow
removal). The district court also pointed out that Brian’s 2013
Schedule E showed $22,000 in “passive income”; however, our
review of that schedule shows a nonpassive income of $22,000
and a passive loss of $10,966, leaving a total reported nonpas-
sive income of $11,034 for Marshall Enterprises. However,
after factoring in real estate rental losses of $1,534, Brian
reported $9,500 in total Schedule E income. That is another
$792 per month. If we add together Brian’s salary ($2,500 per
month), snow removal net income ($1,150 per month), and
Schedule E income ($792 per month), we arrive at a total of
$4,442 per month for Brian before consideration of in-kind
benefits he derives from his family business. We consider
that next.
   [10] In Baratta, supra, our Supreme Court imputed an
additional $400 to the husband’s monthly income because
of the rent-free apartment previously occupied by the parties
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courtesy of the husband’s parents. Another $50 per month was
imputed as income for food he received from his parents. It
is well established that the provision of in-kind benefits, from
an employer or other third party, may be included in a party’s
income for child support purposes. Workman v. Workman, 262
Neb. 373, 632 N.W.2d 286 (2001). See, also, State on behalf
of Hopkins v. Batt, 253 Neb. 852, 573 N.W.2d 425 (1998)
(military housing benefit and subsistence allowance included
as income).
   In the present case, the district court found that Brian had
been living rent free in one of his parent’s rental properties
since February 2013 (which we note was just shy of 2 years
by the time the decree was entered in December 2014). The
court found that the monthly rental was $1,000, but that Brian
had not paid any rent to his parents. As in Baratta, supra,we conclude this amounts to an in-kind benefit that may be
included in Brian’s income for child support purposes. Adding
this amount to the $4,442 in other income increases Brian’s
monthly income to $5,442. However, Brian’s in-kind benefits
went beyond free housing.
   At trial, both Brian and his mother testified that Marshall
Enterprises pays for his cellular telephone. And, while nei-
ther Brian nor his mother attributed a specific dollar amount
to this benefit, the affidavit of financial condition submitted
by Brian indicates that his monthly cellular telephone bill is
$271.20. In addition, evidence presented at trial revealed that
Brian’s health insurance costs are also paid for. According to
Brian’s 2013 tax return, these costs total $1,817 per year, or
about $151 per month. And, although there was conflicting
evidence about whether these costs are paid for by Marshall
Enterprises as an in-kind benefit for his employment or
whether they are given to Brian as a gift from his parents,
we find that there is sufficient evidence to warrant the inclu-
sion of Brian’s health insurance costs in the calculation of
his income. Adding the amounts that Brian receives for his
monthly cellular telephone bill and his health insurance costs
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to the $5,442 in other income increases Brian’s monthly
income to $5,864.20.
   We note that there is also some indication in the record
that Brian has received a truck and the insurance and main-
tenance for that truck as an in-kind benefit for his employ-
ment with Marshall Enterprises. Again, though, there is no
evidence of a specific dollar amount for this benefit. In fact,
there is evidence that this benefit has no real personal value
for Brian, because he testified that the truck is owned by
Marshall Enterprises and that he only uses the truck for his
work with Marshall Enterprises. Brian testified that he owns
another truck, which is for his personal use. Brian’s personal
truck was apparently paid off shortly before the trial, as was
Amy’s personal vehicle. Despite the evidence that Brian does
not own, nor did he pay for, the company truck and that both
he and Amy’s personal vehicles have been paid for in full,
Brian lists a car payment of $993.13 on his list of monthly
expenditures. It is not at all clear which vehicles this pay-
ment encompasses, but given Brian’s testimony about the
company truck, we do not find that we can infer that the car
payment of $993.13 reported on Brian’s monthly expenditures
is in any way associated with his use of the company truck.
And, given that there is no other evidence about any value
that Brian receives from the use of the company truck, we do
not include in our income calculations any amount for this
in-kind benefit.
   Based upon our review of all of the evidence concern-
ing the sources of Brian’s income, including his salary from
Marshall Enterprises, his snow removal income, and the
in-kind benefits he receives from his employment, we conclude
that Brian’s monthly income totals $5,864.20, and we round
this amount to $6,000. Our calculation of Brian’s monthly
income is $1,000 less than the district court’s calculation of
$7,000, which we previously found to be not supported by the
evidence. Given this significant alteration to Brian’s monthly
income, we remand the matter to the district court for a new
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calculation of Brian’s child support obligation, using $6,000 as
his monthly income.

                   3. A dmission of Exhibit 81
   At trial, Amy offered into evidence exhibit 81, which con-
tained various documents related to the parties’ settlement
agreement with Merck. These documents included the affidavit
of Amy concerning her use of Vioxx and her stroke; affidavits
from two doctors concerning Amy’s use of Vioxx; letters from
Brian and Amy’s lawyer concerning Amy’s medical bills, lost
wages, and a doctor’s opinion about the cause of Amy’s stroke;
a letter from Amy’s rehabilitation physician about her disabili-
ties; a copy of the “Release of All Claims” signed by Brian and
Amy; and copies of the settlement checks issued to Brian and
Amy from Merck. Brian objected on foundational and hearsay
grounds to all of the documents in exhibit 81 except the copy
of the “Release of All Claims” and the copies of the settlement
checks. The district court overruled Brian’s objections and
received into evidence exhibit 81 in its entirety.
   On appeal, Brian challenges the district court’s decision to
admit into evidence exhibit 81. Specifically, he alleges that
exhibit 81 contains hearsay which purports to reveal the cause
of Amy’s stroke, Amy’s disabilities as a result of the stroke,
and the amount of Amy’s monetary damages, and that such
hearsay is inadmissible. We find Brian’s assertions regarding
the admissibility of exhibit 81 to be without merit.
   [11] Assuming without deciding that exhibit 81 contains
inadmissible hearsay with regard to the cause of Amy’s stroke,
Amy’s disabilities as a result of the stroke, and Amy’s mon-
etary damages, this evidence is cumulative to other, unobjected
to evidence presented at trial and, as a result, amounts to harm-
less error. Erroneous admission of evidence is harmless error
and does not require reversal if the evidence is cumulative and
other relevant evidence, properly admitted, supports the find-
ing by the trier of fact. Worth v. Kolbeck, 273 Neb. 163, 728
N.W.2d 282 (2007).
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   At trial, Amy repeatedly testified that her doctors had attrib-
uted her stroke to her daily use of Vioxx for the previous 4
years. Amy also testified extensively concerning her physical
disabilities after her stroke, including her limited use of her
left hand and left leg and various activities and chores she
could not engage in because of these limitations. In addition,
Amy’s mother testified about Amy’s physical limitations after
the stroke. This evidence essentially mirrors the information
presented in exhibit 81 about the cause of Amy’s stroke and
about her resulting disabilities. Brian did not object to any of
this testimony at trial. However, on appeal, he does assert that
Amy’s testimony about the cause of her stroke lacked founda-
tion and should have been excluded. Brian has not properly
preserved his objection to Amy’s testimony for appeal. See
Furstenfeld v. Pepin, 23 Neb. App. 155, 869 N.W.2d 353(2015). As has long been the case, appellate courts do not gen-
erally consider arguments and theories raised for the first time
on appeal. Id.   During Brian’s cross-examination of Amy, his counsel asked
her about the amount of medical expenses and lost wages
she incurred as a result of her stroke. Counsel relied on the
information contained in exhibit 81 to ask Amy these ques-
tions, and Amy independently confirmed that information.
Accordingly, the information contained in exhibit 81 about
Amy’s monetary damages is cumulative to Amy’s own testi-
mony about these figures, which testimony was prompted by
Brian’s questions of her. Accordingly, Brian’s assertion regard-
ing the admissibility of this information and of exhibit 81 as a
whole is without merit.
                           4. A limony
   In the decree, the district court ordered Brian to pay Amy
alimony in the amount of $2,000 per month for a period of
21 years. On appeal, Brian argues that the alimony award is
an abuse of discretion. Given our conclusion that it is neces-
sary to remand the matter to the district court to recalculate
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and divide the marital estate and to recalculate Brian’s current
income, we also reverse the district court’s decision concern-
ing alimony.
   [12,13] In awarding alimony, a court should consider,
in addition to the specific criteria listed in Neb. Rev. Stat.
§ 42-365 (Reissue 2008), the income and earning capacity of
each party as well as the general equities of each situation.
Marcovitz v. Rogers, 267 Neb. 456, 675 N.W.2d 132 (2004).
Section 42-365 includes the following criteria:
      [T]he circumstances of the parties, duration of the mar-
      riage, a history of the contributions to the marriage
      by each party, including contributions to the care and
      education of the children, and interruption of personal
      careers or educational opportunities, and the ability of
      the supported party to engage in gainful employment
      without interfering with the interests of any minor chil-
      dren in the custody of such party.
Disparity in income or potential income may partially justify
an award of alimony. Hosack v. Hosack, 267 Neb. 934, 678
N.W.2d 746 (2004).
   Clearly, an award of alimony is intricately tied to the
incomes and other relevant financial circumstances of each
party. See § 42-365. See, also, Marcovitz, supra. In our analy-
sis above, we determined that the district court erred in cal-
culating both the marital estate and Brian’s income and we
remanded the matter with directions to redistribute the marital
estate and to recalculate Brian’s child support obligation. When
the district court performs these recalculations, the court’s
determination concerning an appropriate award of alimony will
necessarily be affected.
   Thus, we also reverse the district court’s award of alimony.
In reversing this award, however, we specifically do not find
that the district court abused its discretion in entering the
award. Rather, we simply direct the district court to reconsider
the issue of alimony in light of the changed circumstances
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resulting from the recalculation of both the marital estate and
Brian’s current income.

                       VI. CONCLUSION
   Upon our de novo review of the record, we find that the dis-
trict court erred in failing to include all of the proceeds from
the personal injury settlement in the marital estate and in cal-
culating Brian’s current income. As a result of these errors, we
remand the matter to the district court to recalculate the value
of the parties’ marital estate, redistribute the assets and debts
between the parties, and recalculate Brian’s child support obli-
gation. In addition, we reverse the district court’s determination
concerning Amy’s alimony award, because the court should
reconsider this award in light of any changes to the marital
estate and to Brian’s child support obligation. We affirm the
remainder of the district court’s decision.
	A ffirmed in part, and in part reversed
	                       and remanded with directions.

   Bishop, Judge, concurring in part, and in part dissenting.
   I dissent from that part of the majority’s opinion which
reverses the district court’s classification of the personal injury
settlement proceeds into nonmarital and marital portions. I also
dissent from the majority’s reversal of the alimony award.
   Regarding the settlement proceeds, the majority concludes
that “Amy failed to sufficiently demonstrate that any portion
of the settlement proceeds were nonmarital property” and
that “[a]ll of the settlement proceeds should be considered
marital property.” The majority determines that the settlement
proceeds ($330,621.40) were apportioned 54 percent to Amy
as nonmarital and 12.5 percent to Brian as nonmarital, with
the remaining 33.5 percent attributed to the marital estate.
The majority then states, “Without specific proof about how
the settlement proceeds should be broken down, the presump-
tion remains that all of the proceeds from the personal injury
settlement are marital property” and that the “district court
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erred in arbitrarily setting aside any portion of the settlement
proceeds as nonmarital property.”
   The majority reverses this portion of the district court’s deci-
sion and remands the matter for a recalculation of the value of
the marital estate and a redivision of the marital estate given
its conclusion that all of the proceeds from the personal injury
settlement should be included in the marital estate. I conclude
that the record supports the district court’s treatment of the
settlement proceeds, and given our abuse of discretion stan-
dard of review, I would affirm the district court’s decision on
this issue.
   The majority acknowledges that our Supreme Court has
held that “[c]ompensation for an injury that a spouse has or
will receive for pain, suffering, disfigurement, disability, or
loss of postdivorce earning capacity should not equitably be
included in the marital estate,” but that “compensation for
past wages [and] medical expenses . . . should equitably be
included in the marital estate as they properly replace losses of
property created by the marital partnership.” Parde v. Parde,
258 Neb. 101, 109, 110, 602 N.W.2d 657, 663 (1999). The
majority concludes, however, that “[w]ithout specific proof
about how the settlement proceeds should be broken down, the
presumption remains that all of the proceeds from the personal
injury settlement are marital property.”
   It is not clear what kind of “specific proof” the majority
contemplates in a situation such as this, where a personal
injury settlement agreement is silent as to how the settlement
amount was calculated. When the settlement agreement is
silent in this regard, but there obviously has been both (1) a
personal loss, such as pain, suffering, disfigurement, disability,
and loss of postdivorce earning capacity (deemed nonmarital),
and (2) a marital economic loss, such as wages lost during the
marriage and medical expenses (deemed marital), the appor-
tionment of nonmarital and marital amounts must be left to
the discretion of the trial court based upon the evidence pre-
sented. And while determining wages lost as a result of the
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injury both during the marriage and postdivorce, along with
determining out-of-pocket medical expenses, are amenable to
mathematical calculation, there is no formula for calculating
a monetary value for the losses personal to the injured party.
There is, however, in the present case, evidence of how Amy’s
injury has permanently impacted her in many personal ways.
And while we can approximate her potential future lost wages
(discussed later), there is no way to provide “specific proof” as
to how her personal losses (pain, suffering, disfigurement, and
disability) equate with a monetary value when the settlement
agreement is silent on the matter. But that should not mean
we must ignore these personal losses completely; to do so is
inherently unjust.
   In fact, the Parde court reminds us:
      In equity, there is rarely one tidy answer that fits every
      size and type of problem that courts are called upon to
      resolve. It is precisely for this reason that a principled
      approach to this issue should be consistent with the basic
      policy rule that the marital estate should include only
      property created by the marital partnership.
258 Neb. at 108, 602 N.W.2d at 662. The Parde court went
on to say, “Compensation for purely personal losses is not
in any sense a product of marital efforts.” 258 Neb. at 109,
602 N.W.2d at 663. By requiring the district court to treat the
settlement proceeds entirely as marital, the majority ignores
the significant personal losses suffered by Amy alone, despite
her testimony and the testimony of others regarding the same.
Contrary to Parde, the majority compels the inclusion of
Amy’s “personal losses” into the marital estate which are “not
in any sense a product of marital efforts.” 258 Neb. at 109, 602
N.W.2d at 663.
   When discussing the division of settlement proceeds in its
34-page decree, the district court quoted from Parde, supra.That quote bears repeating here:
      “‘Nothing is more personal than the entirely subjec-
      tive sensations of agonizing pain, mental anguish,
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       embarrassment because of scarring or disfigurement, and
       outrage attending severe bodily injury. Mental injury, as
       well, has many of these characteristics. Equally personal
       are the effects of even mild or moderately severe injury.
       None of these, including the frustrations of diminution
       or loss of normal body functions or movements, can be
       sensed, or need they be borne, by anyone but the injured
       spouse. Why, then, should the law, seeking to be equitable,
       coin these factors into money to even partially benefit the
       uninjured and estranged spouse? . . . The only damages
       truly shared are those discussed earlier, the diminution of
       the marital estate by loss of past wages or expenditure of
       money for medical expenses. Any other apportionment is
       unfair distribution.’”
Parde v. Parde, 258 Neb. 101, 109, 602 N.W.2d 657, 662-
63 (1999) (quoting Brett R. Turner, Equitable Distribution of
Property § 6.18 (2d ed. 1994)). It is true that Parde also states
that “in those cases where the party making the claim of non-
marital property fails to prove that all or portions of an injury
compensation are for purely personal losses or loss of future
earning capacity, the presumption remains that the proceeds
. . . are marital property.” 258 Neb. at 110, 602 N.W.2d at 663.
However, Amy did not fail to prove that some portion of the
compensation for her injury represented purely personal losses
or loss of future earning capacity. As noted by the district
court, the “settlement does not come close to compensating
Amy for her future pain, suffering, disfigurement, disability.”
After setting forth the language from Parde, supra, block-
quoted above, the district court stated:
          As was the case in Parde, the release that Amy and
       Brian signed was silent on allocation of payment for
       Amy’s pain, suffering, disfigurement, disability or loss
       of post-divorce earning capacity or for past wages, medi-
       cal expenses and other items that compensate for the
       period in issue of the marital estate. Notwithstanding, the
       Court, as the trier of fact and judge of the credibility of
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      the witnesses, had an opportunity, over two days of trial,
      to not only see and hear Amy testify but could see how
      profoundly and permanently she has been affected and
      disabled by the massive stroke she sustained at such an
      early age, after having worked in her salon the entire day
      and then went home and prepared a birthday dinner for
      Brian, who is now seeking to receive credit for half of
      the personal injury settlement of $330,621.14. The Court
      did not need the settlement documents, Ex. 81 (sealed),
      to see and appreciate the serious nature of Amy’s perma-
      nent injuries.
   Additionally, the district court specifically set forth, in
part, the following factual determinations in its decree: Amy
began having lower back problems in 1997 and her father-in-
law (an oral surgeon) recommended she see a neurosurgeon
who had an office across from her father-in-law’s office;
samples of Vioxx were given to Amy through her father-in-
law for years; on April 30, 2003, Amy suffered a massive
stroke as a result of an occluded carotid artery; an expert
determined Amy’s use of Vioxx proximately contributed to
her stroke; Amy and Brian made a claim against the phar-
maceutical company (Merck); despite rehabilitation efforts,
Amy remains with significant left-sided paralysis and has
no significant functional use of her left upper extremity;
the stroke eliminated the functional use of her left hand, so
Amy was unable to sustain reasonable work as a hairstylist
and had to give up her career and sell her salon; feeding is
difficult because she is unable to cut meat or prepare foods
that require two hands; dressing must be performed with one
hand, so Amy must select clothes without buttons or zippers;
toileting and bathing tasks must be performed with one hand
and with adaptive equipment; she is unable to completely
groom herself; she has “residuals of a neurogenic bladder”
so she has urinary urgency and must get to a bathroom more
frequently; ambulation is clumsy and adaptive—she “swings
her left lower extremity forward in a circumferential pattern
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and has difficulty maintaining static stance on just her left
lower extremity”; she falls monthly and has musculoskel-
etal bruises, sprains, and strains as a result of her falls; she
requires antiplatelet medication and other prescription medi-
cations; she can drive but only by using her right hand as she
has no use of her left wrist and hand and has limited range of
motion with her left arm; she cannot straighten her left arm;
she used her mouth to close a zipper on her purse at trial;
her left leg has a brace on it; and “[h]er daughter helps her
with everything.”
   Given these factual determinations made by the district
court, as supported by the record, there was no failure of proof
on Amy’s part in establishing how the injury has impacted
her personally and no question that a substantial portion of
the settlement should be allocated for her separate, nonmarital
benefit. Awarding Amy slightly over one-half the proceeds
for her nonmarital personal losses is further supported by
consideration of her marital and postdivorce lost wages, as
discussed next.
   Amy’s preinjury annual wages were approximately $43,580,
and she was 34 years old at the time of her stroke in April
2003. The majority states:
      [I]t is clear that the marital estate was greatly dimin-
      ished as a result of Amy’s lost wages. In fact, Amy’s
      lost wages from the time of her stroke in 2003 through
      the time of the parties’ separation 10 years later in 2013
      totaled more than $100,000 over the entirety of the settle-
      ment proceeds.
And although the majority acknowledges that Amy’s stroke
“left her with serious physical impairments,” it concludes that
“her stroke resulted in a great reduction in the value of the
marital estate” and that the proceeds “were simply not enough
to cover all of the damages incurred by the parties.” While this
may be true, it is also true that the proceeds were insufficient
to cover the totality of Amy’s losses, including her future
lost wages.
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   Amy’s future lost wages is well demonstrated by a demand
letter dated September 1, 2009 (contained in exhibit 81),
which reflects future lost wages of “$1,133,080.00 (26 years
× $43,580.00).” In September 2009, Amy would have been 40
years old, and but for the injury, it would have been reasonable
to anticipate she could have worked for another 26 years (until
2035). The total number of years from the time of injury (April
2003) until 2035 equals 32 working years affected by Amy’s
injury. These 32 working years of a reduced earning capac-
ity not only “greatly diminished” the marital estate, as noted
by the majority, but also diminished on a larger scale Amy’s
postdivorce future earnings. Since Amy filed for divorce in
February 2013, about 10 years after the injury, of her 32 work-
ing years of diminished wages, the marital portion accounts
for only one-third of that time (10 years), whereas, the post-
divorce, nonmarital portion accounts for the other two-thirds
(22 years). So even if we set aside the obvious personal losses
to Amy previously discussed, her postdivorce wage-earning
losses alone support the district court’s apportionment of 54
percent of the settlement proceeds to Amy as her nonmari-
tal share.
   Finally, out-of-pocket medical expenses incurred during the
marriage as a result of Amy’s stroke could have been clas-
sified as marital property factored into the settlement pro-
ceeds. I agree with the majority that “there was no evidence
presented to indicate whether or how much the marital estate
was diminished for these medical bills or whether the parties’
health insurance covered these bills.” Accordingly, since out-
of-pocket medical expenses incurred during the marriage were
not raised by either party, the trial court was left with the task
of apportioning the settlement proceeds between Amy’s per-
sonal losses (such as pain, suffering, disfigurement, disability,
and loss of postdivorce earning capacity) (deemed nonmarital)
and wages lost during the marriage (deemed marital). Finding
no abuse of discretion by the district court in these deter-
minations, I would affirm all aspects of the district court’s
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decision pertaining to the classification, valuation, and division
of property.
   I also dissent with regard to the majority’s reversal of
the alimony award. The majority reversed the alimony award
because of its remand of the matter for a recalculation of the
marital estate, along with a recalculation of Brian’s income for
child support purposes. The majority states, “When the district
court performs these recalculations, the court’s determination
concerning an appropriate award of alimony will necessarily
be affected.” Since I would affirm the district court’s property
award, this is not a factor that would influence the court’s ali-
mony decision. And although I agree that Brian’s income was
not properly calculated and his child support obligation should
be remanded for recalculation, I do not agree that any adjust-
ment made to his income must necessarily impact the court’s
determination of alimony.
   The district court determined that Brian’s monthly income
was $7,000; the majority determined, and I agree, that the
record supported an income attributable to Brian of approxi-
mately $6,000. While this $1,000 per month difference in
income supports a recalculation of Brian’s child support obli-
gation, I do not agree that it must necessarily require a change
to the $2,000 per month in alimony awarded to Amy. With an
income of $6,000 per month, along with a reduced child sup-
port award on remand, an alimony award of $2,000 per month
based upon the circumstances of this case is not an abuse of
discretion. This is particularly so since the $935 per month
child support obligation only became effective as of January
1, 2015, and would have terminated 8 months later when the
minor child reached her age of majority in August 2015.
   In all remaining aspects of the majority’s opinion, I concur.
